945 F.2d 396
    Reese (Robert J., Eleanor S.)v.Consol-Pennsylvania Coal Company, Rhein Braun U.S.,Monogahela Railway Company, Boggs (David), Pollock (Ewing),Pollock, Pollock and Thomas, The Upshur Agency, Inc.,Consolidated Coal Company, Consol-Land Development Company,Rheinische Braunkohlenwerke, Verkaufsgesellschaft (MariaTherese), Wilson (Mike), Reese (William)
    NO. 90-3487United States Court of Appeals,Third Circuit.
    SEP 24, 1991
    
      Appeal From:  W.D.Pa.,
      Smith, J.,
    
    740 F.Supp. 1126
    
      1
      AFFIRMED.
    
    